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                                                                                       'FILED
                                                                                        JUN 23 2010
                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH DAKOTA
                                    SOUTHERN DIVISION                                   ~~
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UNITED STATES OF AMERICA,           *     CR 10-40003
                                    *
            Plaintiff,              *
                                    *
      vs.                           *              ORDER
                                    *
RYAN PATRICK SAILORS,               *
                                    *
            Defendant.              *
                                    *
******************************************************************************
          Defendant moves to withdraw his guilty plea, which was accepted by the Court, and the
Defendant also moves to dismiss the Superseding Indictment.


          The Court can consider the Motion to Withdraw the Guilty Plea pursuant to FED. R. CRIM.
P. 11(d)(2)(B) as the Court has not yet sentenced the Defendant. In addition, the Defendant has
shown a fair and just reason for the withdrawal. Counsel for the Defendant alleges that he was in
error in recommending that the Defendant plead guilty, as counsel for the Defendant now believes
that one of the three elements necessary to state an offense under 18 U.S.C. § 2250(a) was missing,
that being that the Defendant is required to register under the Sex Offender Registration and
Notification Act. The Defendant points out that he pled guilty to statutory rape in violation ofSDCL
22-22-1(5). The Defendant claims that the conviction does not constitute a sex offense under the
provisions of 42 U.S.C. § l691l(5)(c) which provides that it is not a sex offense if the Defendant
was not more than four years older than the victim and it was consensual sexual conduct. The
Defendant and the United States agree that the Defendant was less than four years older than the
victim.


          The United States urges that this Court should look beyond the offense ofconviction in State
Court and consider the different offenses that the Defendant was charged with. In addition, the
United States urges that this Court consider the Turner County Sheriffs Office narrative reports and
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that as a result ofthese documents this Court should conclude that the offense ofconviction involved
a lack of consent even though the offense of conviction does not allege lack of consent and the
Defendant did not admit any lack of consent.


       The United States urges the Court to follow United States v. Medicine Eagle, 266 F.Supp.2d
1039 (D.S.D. 2003) (Report and Recommendation of United States Magistrate Judge Moreno
adopted by Judge Kornmann.) TheMedicine Eagle case recognized that the United States Supreme
Court in Taylor v. United States, 495 U.S. 575, 602,110 S.Ct. 2143,109 L.Ed.2d 607 (1990) held
that, in determining whether a prior offense is a felony for enhancement purposes, the sentencing
court should ordinarily limit itself to the fact of conviction and the statutory definition of the prior
offense, and that the Supreme Court allowed the sentencing court to look to the indictment or
information and jury instructions to ascertain whether the defendant was convicted of a violent
felony or some other type of offense. In Medicine Eagle the court relied upon the factual basis
statement that the defendant gave the state court following his guilty plea. As a result, the holding
in Medicine Eagle is consistent with Taylor v. United States. This was confirmed by Shepard v.
United States, 544 U.S. 13, 16 (2005) and United States v. Vasquez-Garcia, 449 F.3d 870 (8 th Cir.
2006). Shepard limited the inquiry regarding the prior conviction "to examining the statutory
definition, charging document, written plea agreement, transcript of the plea colloquy, and any
explicit factual finding by the trial judge to which the defendant assented."


        The previous conviction is a far cry from what the United States urges here. The narrative
reports from the Turner County Sheriffs Office are not court documents in the sense of Taylor v.
United States and not among the documents which may be considered pursuant to Shepard, supra
and Vasquez-Garcia, supra. In addition, in Medicine Eagle the facts relied upon were not in
dispute. In the present case, what happened with regard to consent was in dispute according to the
Sheriffs reports and that dispute could well have been the reason that the Defendant pled to a lesser
offense where consent was not at issue.


        Accordingly, this Court will not find from the charging document that there was lack of


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consent where a lesser offense not involving a consent issue was that to which the Defendant pled
guilty. In addition, the Court will not consider either law enforcement investigative reports nor will
the Court consider other charges which were not the subject of Defendant's guilty plea. There is no
Court finding nor is there any finding by a jury or even a submission to a jury or a Court on the
question of consent. As a result, the Defendant will be allowed to withdraw his guilty plea and the
Motion to Dismiss the Superseding Indictment will be granted. Accordingly,

       IT IS ORDERED:

        1.     That the Defendant's Motion to Withdraw Guilty Plea, Doc. 26, is granted.

       2.      That the Defendant's Motion to Dismiss Superseding Indictment, Doc. 25,
               is granted.

       Dated this   2,'1   y of June, 2010.




                                                 wrence L. Piersol
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                                                nited States District Judge                              f
ATTEST:
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